                    Case 2:19-cr-04184-KG Document 118 Filed 02/23/21 Page 1 Rev.
                                                                             of 2October 3, 2016
                                                 PLEA MINUTE SHEET
                                    IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF NEW MEXICO (AT LAS CRUCES)

CR 19-4184 KG                                                UNITED STATES vs. HERNANDEZ, et al.,
                  Before The Honorable Kevin R. Sweazea, United States Magistrate Judge
Hearing Date:   2/23/2021                                      Time In and Out:          11:49 a.m.-12:14 p.m. (25 min)

Clerk:          V. Ruiz                                        Digital Recording:        LC-Tortugas

Defendant:      SAVANNAH PADILLA                               Defendant’s Counsel:      STEPHANIE WOLF

AUSA:           RY ELLISON                                     Interpreter:              N/A                                Sworn

                                                                                                                            Waived

     Defendant Sworn                                                  First Appearance

     Consent to proceed before a magistrate judge executed with full knowledge of meaning and effect.

     Deft acknowledges receipt of:     Indictment

     If Deft proceeding by way of information, Deft acknowledges right to an indictment and waives that right.

     Terms and conditions of proposed plea agreement               Defendant indicates understanding of its terms.
     explained.

     Factual predicate to sustain the plea provided.

     Deft questioned re Deft’s age, education, physical/mental condition, and whether under the influence of alcohol, drugs, or
     any medication. Deft advised of charge(s), penalties and possible consequences of the plea.

     Deft advised of constitutional rights, loss of rights, and maximum possible penalties (including imprisonment, fine,
     supervised release, probation, SPA, restitution, and any forfeitures).

     Deft questioned re time to consult with attorney and if satisfied with his or her representation.

     Court finds Deft fully understands charge(s) and the consequences of entering a guilty plea to that charge (or those charges).

     Deft pleads GUILTY to: Indictment

     Allocution by Deft on elements of charge(s).

     Court finds plea freely, voluntarily, and intelligently made; plea of guilty accepted.

     Deft adjudged guilty.

     Acceptance of plea agreement deferred until final disposition hearing by district judge.

     Sentencing Date: to be notified

     Defendant to Remain in Custody

     Present conditions of release continued                          Conditions changed to:

     Penalty for failure to appear explained

     Presentence Report Ordered                                       Expedited (Type III)
          Case 2:19-cr-04184-KG Document 118 Filed 02/23/21 Page 2 Rev.
                                                                   of 2October 3, 2016
Other Matters: ALL PARTIES PRESENT THROUGH VIDEO CONFERENCE. COURT FINDS DEFENDANT
CONSENTED TO PROCEED BY VIDEO AND WAIVED THE RIGHT TO APPEAR IN PERSON. THE COURT ALSO
FINDS THAT THE COURT CANNOT CONDUCT THIS PLEA HEARING IN PERSON WITHOUT SERIOUSLY
JEOPARDIZING PUBLIC HEALTH AND SAFETY AND PURSUANT TO THE ADMINISTRATIVE ORDER. AFTER
HEARING FROM DEFENSE COUNSEL, THE COURT ALSO FINDS THAT THIS GUILTY PLEA CANNOT BE
FURTHER DELAYED WITHOUT DOING SERIOUS HARM TO THE INTEREST OF JUSTICE.
